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                              UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       WESTERN DIVISION


BENJAMIN DeWITT,

                       Plaintiff,
       vs.                                             Case No. 19-cv-50I42


ROCKFORD RESCUE MISSION
MINISTRIES, an Illinois not-for-profit                 Honorable Philip G. Reinhard
corporation doing business as Rockford
Rescue Mission,                                        Magistrate Judge Lisa A. Jensen

                       Defendant.


                      JOINT STATEMENT OF FACTS SUPPORTING
                  MOTION FOR COURT APPROVAL OF SETTLEMENT


       Plaintiff, Benjamin DeWitt, and Defendant, Rockford Rescue Mission Ministries, by and

through its counsel, HolmstromKennedyPC,submit this Joint Statement in response to this Court's

Order of June 20,2019 and state as follows:

        1.     Plaintiff seeks overtime which he would be owed if he were not an exempt

employee.

       2.      Defendant believes Plaintiff was exempt from overtime as a white-collar executive

because he satisfied both the salary test and duties test.

              a.     The parties agree that Plaintiffs salary of $39,270 satisfied the salary test
       which requires a salary of $23,660.

               b.      The Defendant believes Plaintiff satisfied that portion of the duties test
       requiring supervision of at least two full-time equivalent employees based on the
       spreadsheet attached as Exhibit 1. The Plaintiff disagrees and believes that his duties
       providing community meals in the kitchen for the Food Service Department and his duties
       in the cafeteria for the Vocational Training Department should not be aggregated into one
       position for purposes of determining whether he supervised enough employees to qualify
       for the exemption.
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              c.       The Defendant believes Plaintiff satisfied that portion of the duties test
       requiring that his primary duty be management of a customarily recognized department or
       subdivision ofthe employer in that his primary duty was management of food service, and

                              i.     he spent more than 50% of his time actually performing
                       discretionary management duties such as scheduling, menu planning,
                       purchasing, ordering, monitoring intake and inventory and budgeting, as
                       well as training, scheduling, directing, supervising and evaluating
                       employees and volunteers;

                               ii.    managers in retail establishments may perform work such as
                       serving customers, cooking food, stocking shelves and cleaning;
                       performance of such nonexempt work does not preclude the exemption if
                       the manager's primary duty is management especially given that a manager
                       can supervise employees and serve customers at the same time without
                       losing the exemption; and

                               iii.   all of the factors relied upon to determine whether someone
                       who spends less than 50% of their time performing management duties
                       indicate Plaintiff was exempt based on the specific duties described in
                       subparagraph 2.c.i. above.

                               iv.   Plaintiff disagrees that he spent more than 50% of his time
                       actually performing discretionary management duties. Plaintiff disagrees
                       that he performed many of the discretionary management duties which
                       Defendant believes he performed.

               d.      The Plaintiff provided a detailed letter to the Defendant in response to its
       belief that he satisfied the duties test requirements ofthe FLSA. See Exhibit 2.

       3.      Plaintiff kept a record of all hours he worked. Defendant used this to calculate the

maximum possible amount of overtime to which Plaintiff could possibly be entitled under

Urnikis-Negro v. Am. Family Prop. Servs., 616 F.3d 665 (7th Cir. 2010). See Exhibit 3. Plaintiff

agrees with this calculation.

       4.      Because the unpaid overtime is only $6,258.42 and the liquidated damages are also

$6,258.42, Defendant has agreed to settle the matter by paying Plaintiff the full amount of

overtime and liquidated damages he could possibly be owed, $12,516.84.
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       5.      Because the Defendant is paying the Plaintiff the full amount of overtime and

liquidated damages he could possibly be owed, it would be appropriate for the Court to approve

the settlement as a "fair and reasonable resolution ofa bona fide dispute." Salcedo v. D'Arcy Buick

GMC,Inc., 221 F. Supp. 3d 960, 961 (N.D. 111. 2016).


BENJAMIN DeWITT,                             ROCKFORD RESCUE MISSION MINISTRIES,
Plaintiff                                    an Illinois not-for-profit corporation doing business
                                             as Rockford Rescue Mission, Defendant



/s/ Benjamin DeWitt                          /s/ Alexander J. Meznv
                                             HolmstromKennedyPC
                                             Attorneys for Defendant




Prepared by:
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                                CERTIFICATE OF SERVICE


       Under penalties of perjury as provided by law pursuant to the Federal Rules of Civil
Procedure, the undersigned certifies that a copy of the foregoing Joint Statement of Facts
Supporting Motion for Court Approval of Settlement was served upon the Plaintiff via the
Court's CM/ECF system and the U.S. Postal Service with postage prepaid on the 8th day of July,
2019 as follows:


                                      Benjamin DeWitt
                                     4639 Cromwell Lane
                                     Loves Park, IL 61111
                                Beniamin.DeWitt@hotmai1.com




                                           /s/ Alexander J. Meznv




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Benjamin DeWitt
4639 Cromwell Lane
Loves Park, Illinois 61111

April 24,2019

Mr. Alexander J. Mezny
800 N. Church Street
P.O. Box 589
Rockford, Illinois 61105

Dear Mr. Mezny,

Thank you for your timely response to the FLSA concerns regarding the Rockford Rescue
Mission (the "Mission") misclassifying me as an exempt executive employee. I understand that
as the representative ofthe Mission it is your responsibility to do what is in the Mission's best
interest which includes protecting them from potential claims and doing your best to ensure their
reputation stays in good standing. I respect what you do.

After reviewing the information provided on behalf of the Mission and the
HolmstromKennedyPC law firm, I maintain that while employed at the Mission I did not qualify
for executive exempt status under the Fair Labor Standards Act. I will provide a rebuttal or
confirmation of each section provided in your letter dated April 18, 2019. Before I do this, I
think it is beneficial that I address a few specific excerpts of the letter so there is a better mutual
understanding.

The first excerpts related to the use of volunteers and vocational trainees. Regarding the duties
test, you added the following use of volunteers and vocational trainees to supplement your
arguments:

           • "...plus countless volunteers."(page 2)
           • "...and volunteers."(page 2)
           • "...volunteers and vocational training candidates."(page 3)

Though I appreciated each volunteer and vocational trainee for their service, the use of either to
make any point relating to the employee minimum or duties test ofthe FLSA is irrelevant and
has no bearing on meeting executive exempt requirements.

The second excerpt related to the expectations that I had when I agreed to accept two full-time
supervisor positions over two separate departments at the Mission, one of which was supposed to
be on a temporary basis. You stated the following:

           • "As you know,that is an average schedule in management in the food service
                 industry."(Page 3 in reference to working 60 hours)

Before joining the Mission, I spent over 10 years as an exemplary leader in restaurant
management in both for and non-profit venues. From working in Central PA's premier Heritage
Hills Golf Resort, working excessively demanding hours at Trump National Golf Club in
Bedminster, NJ, and then switching ge^j^nt^ioi^rofitgeneral management at Elijah's
                                                  EXHIBIT
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Promise in New Brunswick, NJ,the quantity of hours I expected to work at the Mission was in
line with that of what I have previously experienced. Having worked in this industry for some
time now, I also have a good grasp on the typical discretionary management duties that are
performed and how often. What I experienced at the Mission was unlike any reasonable
management position I know of and was a far cry from meeting the requirements of executive
exempt status under the FLSA.

Salary Test


I confirm our agreement that my salary of$39,270($38,500 at hire) significantly exceeded that
required by the exemption (currently $23,660). In my e-mail to you on April 16,1 stated that I
had paystubs reflecting that pay was docked for hours not worked under 40 hours per week.
After reviewing the circumstances in which exempt employees need not receive their full salary,
I confirm that those paystubs fell within the situations presented.

Nevertheless, based on verbal statements made by the Mission administration regarding salaried
employees having to request off for any hours not worked under 40 in any week, it would benefit
the administration to conduct a comprehensive audit to ensure they are continuing to pay a fixed
salary to exempt employees that may work less than 40 hours in any week for reasons other than
those provided in the FLSA. I was under the assumption, based on the information provided
verbally by my superiors and in the Mission handbook, that, for example, if I were to finish my
job requirements in 38 hours in a given week that I would be required to either use accrued paid
time-off or request unpaid time-off to account for the 2 hours not worked.

Duties Test: 2 Full-Time Equivalent Emolovees

I confirm the definition that the phrase "customarily and regularly" means greater than
occasional but may be less than constant. In addition, though the FLSA does not provide further
explanation regarding what this means in actual practice, various court decisions would show
around less than 80% of the time fails to meet this requirement. Regardless, I disagree that I
always directed the work of more than two Mission FTEs for the following reasons:

           • You stated that "Because you were hired to perform both positions and both
               positions have been held by the same person in the past, I think they [the Food
               Service Department and the Vocational Training Department] constitute 'a
               customarily recognized department or subdivision' and would be aggregated for
               purposes ofthe number of employees you supervised."
                  o First, you presented a causal fallacy by making the leap that based on(1)
                      what I was hired to do and (2)that someone before me held those similar
                      positions, that it somehow follows that two distinctly separate departments
                       can then be combined in order to aggregate the quantity of employees to
                       meet the employee requirements for executive exempt status and, I might
                       add, nothing else. You are saying here that because it has happened before
                       that it is fair to continue happening now and based on this it warrants a
                       significeint retroactive combination of two departments that have always
                       been recognized as separate by the Mission. If anything, this presents
                       cause for my predecessors to look back thoroughly on whether their
                       exempt status was properly classified during their employment at the
                       Mission.
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                   o Second, I maintain that based on separate budgets, separate staff
                     qualifications, and separate unit functions that the Food Service
                     Department, as recognized by the Mission, and the Vocational Training
                      Department, as recognized as separate from the Food Service Department
                      by the Mission, are two completely separate departments each being their
                      own "customarily recognized department or subdivision." If you are
                      contending that multiple departments can be aggregated in order to meet
                      the FLSA requirement of2 or more FTEs or their equivalent, then in
                      theory you are saying, for example, that as long as an employee agrees to
                      oversee five separate departments or subdivisions that may have some
                      extraneous relatable feature to each other, let's say they all have food in
                      common,and one of the departments has one full-time employee, three
                       departments each have one part-time employee, and the fifth department
                       has no employees, that because the employee hired to supervise the
                       departments knew beforehand what he was signing on for that it is
                       considered fair according to the FLSA guidelines. I take serious exception
                       to this logic and find no cases in which a similar approach has been
                     considered practicable,
                   o Third, I maintain, based on the information provided, that the Mission
                       outright lied to me upon hiring when they stated that my role as Food
                       Service Supervisor would be temporary. Executive Director Sherry Pitney,
                       Director of Human Resources Mindy Jackson, and Director ofProgram
                       Support Services Teresa Reeverts were all present in that interview and
                       explicitly stated that because of the recent separation of a kitchen
                       employee (John)they were hoping 1 would agree to temporarily fill that
                       vacant spot until a qualified candidate could. No attempt was ever made to
                       fill that position and it has since become apparent, because some of my
                       predecessors evidently filled both positions, that there wasn't ever going
                       to be an attempt to hire for that position. This could fall under the category
                       of wrongful hiring. What is clear is that both positions were intended to be
                       two separate full-time positions by way ofjob description and the
                       departments that they were categorized in. Both demanded 50-55 hours
                       per week based on their functions as each being "a customarily and
                       recognized department or subdivision."

You stated that "your recommendations as to hiring, firing, advancement and promotion as to
these employees were given particular weight." 1 provided numerous examples, all of which are
documented and which I have readily available, showing overwhelming evidence that my
recommendations were not given particular weight to which none of the examples provided were
refuted other than in a general blanket statement. The burden of proving this requirement does
not fall on me. It falls on the Mission and their ability to prove beyond reasonable doubt that the
recommendations 1 made during my time there had particular weight.

You attached a spreadsheet showing the employees that I supervised over time. Thank you for
taking the time to compile this in a more reader-friendly version. You then focused on the
staffing level only in the Food Service Department understandably because of the attempt to
aggregate that department with the Vocational Training Department. I would like to point out the
following regarding this spreadsheet as well as the use oftemporary employees by the Mission:
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          • Distinctions were made for temporary employees denoting that some were
            considered both part-time and full-time and others were only considered part-
            time. I am requesting that the Mission provide information that verify what each
            temporary employee was contracted for—part or full-time. It was my
            understanding that all temporary employees were contracted as part-time and
            occasionally could work full-time hours as needed but not regularly.
          • It is my understanding, based on the Mission's employee handbook and
            employment law, that temporary employees are considered employees of their
            staffing agency and not that of the company using that agency's services unless a
            formal agreement is in place that specifically states otherwise. Does the Mission
            have such a formal agreement in place or are all temporary employees employed
            by their respective staffing agencies and not the Mission itself? If they are not
            employees of the Mission when they are drawn from a staffing agency, I do not
            think they can be considered as factors in determining ifthe 2 PTEs requirement
               was met.
           • Angela K.'s temporary status shows that it ceased on December 19, 2019. Per
             communication relating to this dated February 11, 2019 it was unclear that
             Angela's status had yet to cease. During the last conversation I had with Angela
             in early April 2019 she had not yet been informed if she would be returning to
               work at the Mission or not.
           • It is clear, based on the spreadsheet which confirmed most of the information that
               I previously provided, that the Vocational Training Department had only 4 days in
               which the FLSA duties requirement of2 PTEs was met.

Duties Test: Primary Dutv


Out of all the FLSA requirements that were not met in order to classify me as an executive
exempt employee, I believe this one was the furthest from the mark and was also the most
witnessed by any Mission employee, administrative or non-administrative.

I confirm your statement that "an employee's 'primary duty' is not necessarily how he spends
most of his time; and that the concept encompasses the importance ofthe managerial duties
compared to other duties, the frequency with which the employee exercises discretionary powers,
the employee's relative freedom from supervision and how much greater the employee's wages
are than those of the employees he supervises. When an employee spends more than 50% of his
time performing managerial duties then further inquiry is usually unnecessary."

I believe that you are incorrect and misinformed in your "understanding that in managing the
food service program you spent more than 50% of your time actually performing discretionary
management duties such as scheduling, menu planning, purchasing, ordering, monitoring intake
and inventory and budgeting, as well as training, scheduling, directing, supervising and
evaluating employees..."

Before I specifically refute your claim, I would like to point out that you, again, are trying to
combine the Food Service Department and the Vocational Training Department under the
umbrella of"the food service program." These are two separate programs (departments)that
operate independently to meet very different objectives. Both also require distinctly separate
qualifications to supervise.
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Based on the actual time I performed these discretionary management duties, which were most
often performed in between ringing customers through a register or making their specialty coffee
drinks if I was at the cafe, or during the very limited time I had between prepping and cooking
various meals for the community and/or Mission events in the kitchen, a much more accurate
percentage oftime that I spent performing discretionary management duties was in the 15%-18%
range with giving the Mission the benefit. If these duties weren't performed in between other
tasks, which most often were being performed without any other employees present, then extra
time was needed solely for the purpose of performing most ofthe discretionary management
duties listed. For months, during most days I worked in either department, finding a staff
member from another department to give me enough time to use the bathroom was a stretch let
alone having the capacity to perform discretionary management duties for 50% of any given day
or week. I was typically absent from chapel services, C-Team meetings,0-Team meetings, and
several mandatory stafif meetings simply because there was not another staff member on hand to
give me the ability to leave the kitchen or the Cafe.

You stated that "almost all the time that the kitchen was not actively serving you performed
management duties such as scheduling, menu planning, purchasing, budgeting, ordering and
monitoring intake and inventory. Also, most of the time the kitchen was actively serving you
were also performing management duties such as training, directing and supervising employees,
volunteers and vocational training candidates." This is very far from the truth of what I was
performing. During the times that the kitchen in the Food Service Department was not actively
serving, I was usually the only employee scheduled which eliminated the ability to
simultaneously direct the work of any other employees. Separate from volunteers, which again
are not employees and have no bearing on FLSA requirements, I prepped and cooked the food at
least 80-90% of any given day I was scheduled and rarely had any ability to serve on the line to
the community because I had to begin prepping for the next meal. Effectively, my time
performing discretionary management duties in the Food Service Department or the Vocational
Training Department can be broken down as follows:

           • Scheduling(30 minutes every 3-4 weeks or 2 minutes per day)
                o Note that for several months I was not given authority to schedule
                    employees. The scheduling was done at the director level.
               Menu Planning(10 minutes per day)
               Purchasing (10 minutes per day and often on my way to or from work)
               Budgeting(0 minutes per day as I was rarely, if ever, involved in budgeting for
               either department)
                   o Note that I was not involved in budgeting meetings and did not set any
                      single budget line for either the Food Service or the Vocational Training
                      department. This was completely done at the director level.
               Ordering (included in Purchasing. There is no real distinction between the two in
               this department)
               Monitoring Intake and Inventory (30-45 minutes per day)
                  o This was comprised of unloading donations from vehicles and storing
                      items while simultaneously prepping or cooking meals.
               Training Employees(0-5 minutes per day if there was one scheduled)
               Directing Employees(0-5 minutes per day if there was one scheduled)
               Supervising Employees(0-5 minutes per day if there was one scheduled)
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As I plainly stated before, when I was scheduled in the Food Service Department it was almost
always to fill a cooking shift without any other employee simultaneously working alongside of
me. When another employee did arrive, I would then go to the Vocational Training Department
to allow that employee(s) to receive their mandated break periods while I performed primarily
non-managerial duties in that department for the remainder of the day. If I was scheduled in the
Vocational Training Department, most of my time worked was performing non-exempt duties
and on occasion simultaneously alongside of another employee but, as noted on the employee
spreadsheet, not with the number of employees needed to meet the FLSA threshold for executive
exempt status.

I am aware that the regulations specifically recognize the following:

           • "[A] ... manager in a retail establishment may perform work such as serving
                 customers, cooking food, stocking shelves and cleaning the establishment, but
                 performance ofsuch nonexempt work does not preclude the exemption if the ...
                 manager's primary duty is management.[A]... manager can supervise employees
                 and serve customers at the same time without losing the exemption. An exempt
                 employee can also simultaneously direct the work of other employees and stock
                 shelves."


During most of my time at the Mission, in either department, those descriptions rarely happened
and during long stretches of my employment were not even a possibility.

In your letter you also stated that:
           • "all the factors relied upon to determine whether someone who spends less than
             50% oftheir time performing management duties make it clear that you are
                 exempt."
                    o I believe this not to be true based on verifiable evidence and the
                       information provided.
           • "...you were actually responsible for all aspects ofthe functioning of the kitchen
                 and its workers."
                 o You continue to focus primarily on the Food Service Department and omit
                     the weightiness of the Vocational Training Department. If I had only been
                     hired as an executive exempt employee in the Vocational Training
                     Department then the lack of employees there would have immediately
                     disqualified me from exemption. But, as you are attempting to prove,
                     despite the lack of employees in that department and because of the
                     supposed sufficient number of employees in the Food Service Department
                     then the addition of one department to the other is a fair way to meet the 2
                     FTEs requirement. Based on this scenario, the Mission could then
                     decrease the number of employees in the Food Service Department and
                     add more departments under the supervision of a single employee and
                     claim that they are practicing fair labor standards. This is an illogical
                     approach for any employer to use to justify fair labor practices.
            • "You exercised discretionary powers constantly when you scheduled, planned
              menus, purchased, ordered, budgeted, monitored intake and inventory, and when
              you trained, scheduled, supervised and evaluated employees or participated in
                 their hiring, discipline and termination."
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                   o   I believe this not to be true based on verifiable evidence and on the
                     information provided. As previously stated, I rarely participated in hiring,
                     discipline and termination and my recommendations for such duties was
                     rarely, if ever, given particular weight.
           • "Your salary was more than double the wages of almost all of the employees
             under your control (cases indicate that a wage differential of only 40% is more
             than sufficient)."
                o I cannot confirm or deny this statement as I did not have access to the
                     rates of pay that employees made and had no say in what their rates were,
                o In cases like these, I would assume they divide the annual salary by the
                     number of weeks in a year and then divide that by the total number of
                       hours worked and not that of a standard 40-hour workweek. At $39,270
                       that would put me somewhere in the range of $14.25/hr. If I was making
                       double the wages of those employees, then the Mission had a separate
                       problem on its hands. However, I do not think this was the case. The
                       average living wage for one adult without any dependents in Rockford is
                       $11.15/hr. Though they are not required to pay above minimum wage, I
                       would hope employees in any department at the Mission are compensated
                       a living wage for the work they do.

Hours Worked Over 40


I confirm that the "vacation and holiday hours do not count toward the overtime threshold."
Thank you for bringing this to my attention.

After reviewing the spreadsheet with the revised total hours of potential overtime, I confirm the
new total also to be 941.55 hours.


Calculation of Overtime Premium


Based on the evidence provided, I maintain that during my employment at the Mission I did not
meet several ofthe executive exempt requirements under the FLSA and, as such, am entitled to
the overtime premium for 941.55 hours.

I am aware of the controlling precedent set by the Seventh Circuit Court of Appeals pursuant to
Urnikis-Negro. The court also noted that liquidated damages equal to the amount I am owed in
overtime premiums are presumptively appropriate for FLSA violations.

I believe that the Mission did not act in good faith with reasonable grounds to believe its actions
did not violate the FLSA. I believe they were aware of their failure to staff appropriately in the
Food Service and Vocational Training departments, made no attempt to acquire a qualified
candidate to take on one of the two full-time positions I was temporarily overseeing, did not give
much, if any, weight to my recommendations, and failed to rectify my performance of primarily
non-exempt duties as they were witness to them. I believe, based on a meeting between Director
of Finance Jan Danaher(acting Director of Human Resources while Mindy Jackson was on
vacation). Director of Operations Tom Mathisen, and myself, that the Mission recognized that
they had misclassified me when I initially presented my concerns and they countered by offering
me a new position as a non-exempt employee. They also proceeded to limit my workweek to no
more than 40 hours which was indicative to me at the time that they lacked assurance in their
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classification. The Mission bears a substantial burden in showing that it acted reasonably and
with good faith.

As such, I believe the Mission owes me $6,258.42 for the unpaid overtime premium and
$6,258.42 in liquidated damages for a total of$12,516.84.

I am willing to discuss this further if needed but unless substantial evidence is provided by the
Mission in defense of these claims, I am also willing to begin a formal litigation process if
necessary. I would rather not go this route as I would like to maintain a good reputation for both
the Mission and myself and believe, as you do, that both parties can directly find a resolution that
is satisfactory. The only reasonably satisfactory solution that I see appropriate is for the Mission
to fulfill its obligation to pay the above mentioned overtime premium and liquidated damages. I
am requesting that they do so on or before May 31, 2019.

For the next several weeks I will be out of town with my family. The best ways to reach me
directly are by cell phone at 717-368-2451 or by e-mail at Benjamin.DeWitt@Hotmail.com. I
understand that due to the personal and confidential nature of these claims that you or your firm
will most likely correspond via mail. Please know that any lack of a timely response to further
correspondence from you or your firm is simply due to a hold on our mail until we return home.

Thank you for your continued efforts in handling these matters and I look forward to hearing
back from you.

Sincerely,




Benjamin N. DeWitt
4639 Cromwell Lane
Loves Park, Illinois 61111
717.368.2451
Benjamin.DeWitt@Hotmail.com
                Estimated hours Worked per B DeWitt 041019
                                                    Information per Ben                                    information per Ben D
                                                                                        RRM Hours
                                                                                        over 40 and
                Day          Date       Time In   Time Out   Total Hours   Overtime     calculation             Ben Comments           RRM Comments   Notes
                Monday      6/12/2017   12:30pm    4:00pm       3.5
                Tuesday     6/13/2017   6:00am     3:30pm       9.5
                Wednesday   6/14/2017   6:00am     4:00pm        10
                Thursday    6/15/2017   6:00am     4:00pm        10
                Friday      6/16/2017   6:00am     3:30pm       9.5
                Saturday    6/17/2017      OFF        OFF        0                                                                                    Pay Rates on 4/9/19
                Sunday      6/18/2017      OFF        OFF        0           2.5               2.5                                                    $39270 annual
                                                                42.5                            17.42                                                 $18.88 /hr
                Monday      6/19/2017   6:00am     4:00pm        10                                 8.71                                              $28.32/OT hr
                Tuesday     6/20/2017   6:00am     4:00pm        10                             21.78
                Wednesday   6/21/2017      OFF        OFF        0                                                  In NY

tabbies*
                Thursday    6/22/2017      OFF        OFF        0                                                  In NY
                Friday      6/23/2017      OFF        OFF        0                                                  In NY                             birthday 8
                Saturday    6/24/2017      OFF        OFF        0                                                  In NY
                Sunday      6/25/2017      OFF        OFF        0           0                 0                    In NY
           s
           z                                                    20
           5    Monday      6/26/2017   6:00am     4:00pm       10
           =i   Tuesday     6/27/2017   6:00am     4:00pm       10
                Wednesday   6/28/2017   6:00am     4:30pm       10.5
                Thursday    6/29/2017   6:00am     4:00pm       10
            ^ Friday        6/30/2017   6:00am     3:30pm       9.5
                Saturday     7/1/2017      OFF        OFF        0
                Sunday       7/2/2017      OFF        OFF        0           10                10
                                                                50                              14.81
                                                                                                                                   1
                Monday      7/3/2017    6:00am    4:00pm        10                                 7.40
                Tuesday     7/4/2017    6:00am    4:00pm        10                              74.04        Worked on Holiday         Holiday        Holiday 8
                Wednesday   7/5/2017    6:00am    4:00pm        10
                Thursday    7/6/2017    6:00am    2:30pm        8.5
                Friday      7/7/2017    6:00am    4:00pm        10
                Saturday    7/8/2017       OFF       OFF        0
                Sunday      7/9/2017       OFF       OFF        0           8.5            8.5
                                                                                                                                                                            Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 14 of 37 PageID #:39




                                                               48.5                             15.27 1                            1


                                                                                      Page 1
                                    information per Ben                                Information per Ben 0|
                                                                        RRM Hours
                                                                       over 40 and
Day          Date       Time In   Time Out   Total Hours   Overtime     calculation       Ben Comments       RRM Comments   Notes

Monday      7/10/2017      OFF        OFF        0                              7.63
Tuesday     7/11/2017   6:00am     4:30pm       10.5                           64.88
Wednesday   7/12/2017   6:00am     4:00pm        10
Thursday    7/13/2017   6:00am     4:00pm        10
Friday      7/14/2017   6:00am     4:00pm        10
Saturday    7/15/2017      OFF        OFF        0
Sunday      7/16/2017      OFF        OFF        0           0.5           0.5
                                                40.5                           18.28

Monday      7/17/2017   6:00am     4:00pm        10                             9.14
Tuesday     7/18/2017   6:00am     3:30pm       9.5                             4.57
Wednesday   7/19/2017   6:00am     3:30pm       9.5
Thursday    7/20/2017   6:00am     4:30pm       10.5
Friday      7/21/2017   6:00am     3:00pm        9
Saturday    7/22/2017      OFF        OFF        0
Sunday      7/23/2017      OFF        OFF        0           8.5           8.5
                                                48.5                           15.27

Monday      7/24/2017   5:45am     3:45pm        10                             7.63
Tuesday     7/25/2017   6:00am     4:00pm        10                            64.88
Wednesday   7/26/2017   6:00am     4:00pm        10
Thursday    7/27/2017   5:45am     3:30pm       9.75
Friday      7/28/2017   6:00am     4:00pm        10
Saturday    7/29/2017      OFF        OFF        0
Sunday      7/30/2017      OFF        OFF        0          9.75           9.75
                                               49.75                           14.88

Monday      7/31/2017   6:00am     4:30pm       10.5                            7.44
Tuesday      8/1/2017   6:00am     4:00pm        10                            72.55
Wednesday    8/2/2017   6:00am     4:00pm        10
Thursday     8/3/2017   6:00am     4:00pm        10
Friday       8/4/2017   6:00am     4;00pm        10
Saturday     8/5/2017      OFF        OFF        0
Sunday       8/6/2017      OFF        OFF        0          10.5           10.5

                                                50.5                           14.66                     1
                                                                                                                                    Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 15 of 37 PageID #:40




Monday      8/7/2017    5:45am     4:00pm      10.75                            7.33
Tuesday     8/8/2017    6:00am     3:30pm       9.5                            76.97



                                                                      Page 2
                                    Information per Ben                                Information per Ben D|
                                                                       RRM Hours
                                                                       over 40 and

Day          Date       Time in   Time Out   Total Hours   Overtime    calculation        Ben Comments    RRM Comments   Notes

Wednesday    8/9/2017   6:00pm     3:30pm       9.5
Thursday    8/10/2017   6:00pm     3:30pm       9.5
Friday      8/11/2017   6:00am     6:00pm        12

Saturday    8/12/2017      OFF        OFF        0
Sunday      8/13/2017      OFF        OFF        0          11.25         11.25

                                               51.25                           14.45

Monday      8/14/2017   5:45am     3:30pm       9.75                            7,22

Tuesday     8/1S/2017   6:00am     4:00pm        10                            81.26
Wednesday   8/16/2017   6:00am     4:00pm        10
Thursday    8/17/2017   6:00am     4:00pm        10

Friday      8/18/2017   6:00am     4:00pm        10
Saturday    8/19/2017      OFF        OFF        0

Sunday      8/20/2017      OFF        OFF        0           9.75         9.75

                                               49.75                           14.88

Monday      8/21/2017   5:45am     3:30pm       9.75                            7.44

Tuesday     8/22/2017   6:00am     4:00pm        10                            72.55

Wednesday   8/23/2017   6:15am     3:15pm        9

Thursday    8/24/2017   6:00am     4:00pm        10

Friday      8/25/2017   6:00am     4:00pm        10

Saturday    8/26/2017      OFF        OFF        0
Sunday      8/27/2017   5:00am     3:00pm        10         18.75         18.75
                                                58.75                          12.60

Monday      8/28/2017   6:00am     4:00pm        10                             6.30

Tuesday     8/29/2017   6:00am     3:30pm        9.5                       118.15

Wednesday   8/30/2017   5:45am     3:45pm        10

Thursday    8/31/2017   6:00am     6:00pm        12

Friday       9/1/2017   6:00am     3:30pm        9.5

Saturday     9/2/2017      OFF        OFF        0
Sunday       9/3/2017      OFF        OFF        0            11           11

                                                 51                            14.52

Monday       9/4/2017   5:30am     3:30pm        10                             7.26                                     Holiday 8
Tuesday      9/5/2017   5:00am     3:00pm        10                            79.84
                                                                                                                                     Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 16 of 37 PageID #:41




Wednesday    9/6/2017   6:00am     4:00pm        10

Thursday     9/7/2017   5:00am     4:00pm        11



                                                                      Page 3
                                    Information per Ben                                Information per Ben 0|
                                                                       RRM Hours
                                                                       over 40 and

Day          Date       Time in   Time Out   Total Hours   Overtime    calculation        Ben Comments     RRM Comments   Notes

Friday       9/8/2017   5;45am     2:45pm        9
Saturday     9/9/2017      OFF        OFF        0
Sunday      9/10/2017   5:00am     3:00pm        10          20            20

                                                 60                            12.34

Monday      9/11/2017   6:00am     4:00pm        10                            6.17

Tuesday     9/12/2017   6:00am     3:00pm        9                         123.40

Wednesday   9/13/2017   6:00am     4:00pm        10
Thursday    9/14/2017   5:45am     3:45pm        10
Friday      9/15/2017   5:45am     3:45pm        10
Saturday    9/16/2017      OFF        OFF        0
Sunday      9/17/2017   5:00am    11:30am        6.5         15.5         15.5
                                                55.5                           13.34

Monday      9/18/2017   6:00am     4:00pm        10                             6.67

Tuesday     9/19/2017   5:30am     3:30pm        10                        103.39
Wednesday   9/20/2017   6:00am     3:30pm        9.5
Thursday    9/21/2017    5:45m     3:30pm       9.75
Friday      9/22/2017   6:00am     3:30pm        9.5
Saturday    9/23/2017      OFF        OFF        0
Sunday      9/24/2017      OFF        OFF        0           8.75         8.75

                                               48.75                           15.19

Monday      9/25/2017   6:00am     4:30pm       10.5                            7.59
Tuesday     9/26/2017   5:45am     4:45pm        11                            66.44

Wednesday   9/27/2017   6:00am     4:00pm        10

Thursday    9/28/2017   5:45am     3:45pm        10

Friday      9/29/2017   6:00am     5:00pm        11

Saturday    9/30/2017      OFF        OFF        0
Sunday      10/1/2017      OFF        OFF        0           12.5         12.5
                                                52.5                           14.38

Monday      10/2/2017   5:00am     4:30pm       11.5                            7.19
Tuesday     10/3/2017   6:00am     4:45pm       10.75                          89.90
Wednesday   10/4/2017   6:00am     4:00pm        10

Thursday    10/5/2017   6:00am     3:30pm        9.5
                                                                                                                                  Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 17 of 37 PageID #:42




Friday      10/6/2017   6:00am    10:00pm        16                                         First Friday
Saturday    10/7/2017      OFF        OFF        0



                                                                      Page 4
                                     Information per Ben                                Information per Ben D |
                                                                        RRM Hours
                                                                        over 40 and

Day           Date       Time in   Time Out   Total Hours   Overtime    calculation         Ben Comments    RRM Comments   Notes

Sunday       10/8/2017      OFF        OFF        0          17.75         17.75

                                                57.75                           12.82

Monday       10/9/2017   5:45am     3:45pm        10                             6.41

Tuesday     10/10/2017   5:45am     3:45pm        10                        113.78

Wednesday   10/11/2017   5:45am     4:45pm        11

Thursday    10/12/2017   5:45am     3:45pm        10
Friday      10/13/2017   5:45am     4:45pm        11
Saturday    10/14/2017   11:00am    1:00pm        2
Sunday      10/15/2017      OFF        OFF        0           14            14

                                                  54                            13.71

Monday      10/16/2017   5:45am     3:45pm        10                             6.86

Tuesday     10/17/2017   5:30am     4:00pm       10.5                           95.98

Wednesday   10/18/2017   6:00am     4:00pm        10

Thursday    10/19/2017   6:00am     3:30pm        9.5
Friday      10/20/2017   5:00am     3:30pm       10.5
Saturday    10/21/2017      OFF        OFF        0
Sunday      10/22/2017      OFF        OFF        0           10.5         10.5

                                                 50.5                           14.66

Monday      10/23/2017   5:45am     3:30pm       9.75                            7.33

Tuesday     10/24/2017   6:00am     4:00pm        10                            76.97

Wednesday   10/25/2017   6:00am     5:00pm        11

Thursday    10/26/2017   5:45am     3:45pm        10

Friday      10/27/2017   5:00am     4:00pm        11

Saturday    10/28/2017      OFF        OFF        0
Sunday      10/29/2017      OFF        OFF        0          11.75         11.75

                                                51.75                           14.31

Monday      10/30/2017   6:00am     3:00pm        9                              7.15

Tuesday     10/31/2017   5:00am     4:00pm        11                            84.05
Wednesday    11/1/2017   6:00am     4:00pm        10

Thursday     11/2/2017   5:30am     3:30pm        10

Friday       11/3/2017   5:00am     4:30pm        11

Saturday     11/4/2017   10:00am    4:00pm        6
                                                                                                                                   Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 18 of 37 PageID #:43




Sunday       11/5/2017       OFF       OFF        0            17           17




                                                                       Page 5
                                        Information per Ben
                                                              RRM Hours

                                                              over 40 and
Day            Date        Time In    Time Out                calculation

                                                    57             12.99

[Monday       11/6/2017    6:00am      4:00pm                          6.49

 Tuesday      11/7/2017     S:30am     4:00pm                     110.41

 Wednesday    11/8/2017'    S:4Sam     3:45pm
 Thursday     11/9/2017    6:00am      4:00pm
Friday       11/10/2017    5:30am      4:30pm
iSaturday    11/11/2017        OFF        OFF
[Sunday      11/12/2017    12:30pm     3:30pm


Monday       11/13/2017    5:45am      3:45pm
Tuesday      11/14/2017    5:30am      3:45pm
Wednesday    11/15/2017    6:00am      3:30pm
Thursday     11/16/2017    6:00am      5:00pm
Friday       11/17/2017    6:00am      7:00pm
Saturday     11/18/2017    10;30am     4:00pm
Sunday       11/19/2017        OFF        OFF



Monday       11/20/2017    5:30am      3:30pm
Tuesday      11/21/2017
Wednesday    11/22/2017    4;00am      4:00pm
Thursday     11/23/2017     Holiday    Holiday
Friday       11/24/2017        OFF        OFF

Saturday     11/25/2017        OFF        OFF

Sunday       11/26/2017


Monday       11/27/2017    5:45am      3:45pm
Tuesday      11/28/2017    5:30am      3:45pm
Wednesday    11/29/2017    6:00am      3:30pm
Thursday     11/30/2017    6:00am      4:30pm
Friday        12/1/2017    5:45am     10:00pm
Saturday      12/2/2017        OFF        OFF

Sunday        12/3/2017    2:00pm      4:00pm                     19
                                                                              Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 19 of 37 PageID #:44




                                                                   12.55
                                        Information per Ben
                                                              RRIVl Hours

                                                              over 40 and
Day            Date        Time In    Time Out                calculation

Monday        12/4/2017    6:00am      4:00pm       10              6.27
Tuesday       12/5/2017    6:00am      5:00pm                     119.21
Wednesday     12/6/2017    5:45am      3:45pm
Thursday      12/7/2017    6:00am      4:30pm
Friday        12/8/2017    5:00ami     4:30pm
Saturday      12/9/2017       OFFi        OFF
Sunday       12/10/2017       OFFj        OFF



iMonday      12/11/2017    6:00am      4;00pm
iTuesday     12/12/2017    6:00am      4:30pm
 Wednesday   12/13/2017    5:45am      4:45pm
Thursday     12/14/2017    5:30am      4:30pm
Friday       12/15/2017    6:00am      9:00am
Saturday     12/16/2017    8:00am      6:30pm
Sunday       12/17/2017       OFF         OFF



Monday       12/18/2017    6:00am      4:00pm
Tuesday      12/19/2017    5:30am      4:30pm
Wednesday    12/20/2017    6:00am      3:30pm
Thursday     12/21/2017   Vacation    Vacation

Friday       12/22/2017   Vacation    Vacation
Saturday     12/23/2017       OFF         OFF

Sunday       12/24/2017       OFF         OFF


Monday       12/25/2017   Vacation:   Vacation

Tuesday      12/26/2017   Vacation:   Vacation

Wednesday    12/27/2017    5:30am      4:30pm
Thursday     12/28/2017    5:45am      3:45pm
Friday       12/29/2017    6:00am      3:30pm
Saturday     12/30/2017       OFFi        OFF

Sunday       12/31/2017   11:00am      4:00pm
                                                                            Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 20 of 37 PageID #:45




Monday         1/1/2018   12:00pm 1    1:00pm
                                    Information per Ben                                   Information per Ben 0|
                                                                       RRM Hours
                                                                       over 40 and

Day          Date       Time In   Time Out   Total Hours   Overtime    calculation           Ben Comments    RRM Comments   Notes

Tuesday      1/2/2018   6;00am     4:00pm        10
Wednesday    1/3/2018   S:30am     3:30pm        10
Thursday     1/4/2018   6:00am     4:30pm       10.5
Friday       1/5/2018   6:00am    10:00pm        16
Saturday     1/6/2018      OFF        OFF        0
Sunday       1/7/2018      OFF        OFF        0           8.5           8.5
                                                48.5                           15.27

Monday       1/8/2018   S:30am     4:00pm       10.5                               7.63
Tuesday      1/9/2018   6:00am     5:00pm        11                            64.88
Wednesday   1/10/2018   5:30am     3:30pm        10
Thursday    1/11/2018   6:00am     4:00pm        10

Friday      1/12/2018   5:00am     4:00pm        11

Saturday    1/13/2018      OFF        OFF        0
Sunday      1/14/2018      OFF        OFF        0           12.5         12.5
                                                52.5                            14.10

Monday      l/lS/2018   5:00am     3:00pm        10                                7.05

Tuesday     1/16/2018    6:00m     4:00pm        10                            88.14

Wednesday   1/17/2018   6:00am     4:30pm       10.5
Thursday    1/18/2018   6:lSam     3:15pm        9

Friday      1/19/2018   6:00am     7:00pm        13
Saturday    1/20/2018   7:00am    11:00am        4

Sunday      1/21/2018      OFF        OFF        0           16.5         16.5
                                                56.5                            13.10

Monday      1/22/2018   6:00am    10:30am        4                                 6.55

Tuesday     1/23/2018   5:30am     9:00pm       14.5                           108.11           Telethon
Wednesday   1/24/2018   6:00am     4:30pm       10.5
Thursday    1/25/2018   S:4Sam     3:45pm        10

Friday      1/26/2018   6:00am     4:00pm        10

Saturday    1/27/2018      OFF        OFF        0
Sunday      1/28/2018      OFF        OFF        0            9                9

                                                 49                             15.11

Monday      1/29/2018   6:00am     4:00pm        10                                7.55
                                                                                                                                    Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 21 of 37 PageID #:46




Tuesday     1/30/2018   5:30am    11:00am        5.5                           67.99
Wednesday   1/31/2018   6:00am     4:30pm       10.5



                                                                      Page 8
                                           Information per Ben



Day             Date         Time In    1 Time Out
Thursday        2/1/2018     6:00am       4:00pm       10
Friday          2/2/2018     5:00am      10:00pm
Saturday         2/3/2018        OFF          OFF
Sunday           2/4/2018        OFF          OFF



Monday           2/5/2018    5;00am       3:30pm
Tuesday          2/6/2018    5:00am        3:30pm
Wednesday   ^    2/7/2018    5:30am        3:30pm
Thursday         2/8/2018    5:30am       4:30pm
Friday           2/9/20181   5:30am        3:30pm
Saturday        2/10/2018        OFF          OFF

Sunday          2/11/2018    10:00am       1:00pm


Monday          2/12/2018    S;30am        3:30pm
Tuesday         2/13/2018    6:00am        4:30pm
Wednesday       2/14/2018    S:30am        3:30pm
Thursday        2/15/2018    6:00am        4:30pm
Friday          2/16/2018    S:00am       10:00pm
Saturday        2/17/2018    9:00am        3:00pm
Sunday          2/18/2018        OFF          OFF



Monday          2/19/2018    5:30am        3:30pm
Tuesday         2/20/2018    6:00am        4:00pm
Wednesday       2/21/2018    6:00am        4:30pm
Thursday        2/22/2018    5;30am        S:30pm
Friday          2/23/2018    Birthday     Birthday
Saturday        2/24/2018        OFF          OFF

Sunday          2/25/2018        OFF          OFF



Monday          2/26/2018     S:30am.      3:30pm
Tuesday         2/27/2018     6:00am       3:30pm
Wednesday       2/28/2018    5:30am        4:30pm
                                                                 Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 22 of 37 PageID #:47




Thursday         3/1/2018    5:00am        4:00pm
                                    Information per Ben                                 Information per Ben D |
                                                                        RRM Hours
                                                                        over 40 and

Day          Date       Time in   Time Out   Total Hours   Overtime     calculation        Ben Comments     RRM Comments   Notes

Friday       3/2/2018   5:00am     4:00pm        11
Saturday     3/3/2018      OFF        OFF        0
Sunday       3/4/2018      OFF        OFF        0           12.5          12.5
                                                52.5                            14.10

Monday       3/5/2018   5:00am     3:00pm        10                              7.05
Tuesday      3/6/2018   6:00am     4:00pm        10                             88.14
Wednesday    3/7/2018   5:30am     3:30pm        10
Thursday     3/8/2018   5:30am     4:30pm        11
Friday       3/9/2018   5:00am     4:30pm       11.5
Saturday    3/10/2018      OFF        OFF        0
Sunday      3/11/2018      OFF        OFF        0           12.5          12.5
                                                52.5                            14.10

Monday      3/12/2018   5:30am     5:30pm        12                              7.05
Tuesday     3/13/2018   6:00am     4:30pm       10.5                            88.14
Wednesday   3/14/2018   4:30am     4:30pm        12
Thursday    3/15/2018   5:30am     3:30pm        10
Friday      3/16/2018   5:30am     4:00pm       10.5
Saturday    3/17/2018      OFF        OFF        0
Sunday      3/18/2018      OFF        OFF        0           15             15

                                                 55                             13.46

Monday      3/19/2018   5:00am     6:30pm       13.5                             6.73
Tuesday     3/20/2018   5:00am     4:00pm        11                         100.96
Wednesday   3/21/2018   5:00am     4:30pm       11.5
Thursday    3/22/2018   6:00am     4:00pm        10
Friday      3/23/2018   5:30am     3:30pm        10
Saturday    3/24/2018      OFF        OFF        0
Sunday      3/25/2018      OFF        OFF        0           16             16

                                                56                              13.22

Monday      3/26/2018   5:30am     4:00pm       10.5                            6.61
Tuesday     3/27/2018   5:00am     4:00pm        11                         105.77
Wednesday   3/28/2018   5:00am     3:30pm       10.5
Thursday    3/29/2018   6:00m      4:00pm        10
                                                                                                                                       Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 23 of 37 PageID #:48




Friday      3/30/2018   5:00am     1:30pm       8.5                                          Good Friday                   Holiday 8
Saturday    3/31/2018      OFF        OFF        0



                                                                      Page 10
                                    Information per Ben                                 Information per Ben D |
                                                                        RRM Hours

                                                                        over 40 and
Day          Date       Time in   Time Out   Total Hours   Overtime     calculation         Ben Comments            RRM Comments   Notes

Sunday       4/1/2018      OFF        OFF        0           10.5          10.5
                                                50.5                            14.66
Monday       4/2/2018   S:30am     4:30pm        11                              7.33
Tuesday      4/3/2018   6:00am     4:30pm       10.5                            76.97
Wednesday    4/4/2018   5:00am     3:30pm       10.5
Thursday     4/5/2018   6:00am     4:30pm       10.5
Friday       4/6/2018   5:00am     4:00pm        11
Saturday     4/7/2018   11:00am    6:00pm        7
Sunday       4/8/2018      OFF        OFF        0           20.5          20.5

                                                60.5                            12.24
Monday       4/9/2018   5:30am     4:30pm        11                              6.12
Tuesday     4/10/2018   5:00am     4:00pm        11                         125.44
Wednesday   4/11/2018   5:30am     3:30pm        10
Thursday    4/12/2018   5:00am     4:00pm        11
Friday      4/13/2018   5:00am     1:00pm        8
Saturday    4/14/2018      OFF        OFF        0                                             Michigan
Sunday      4/15/2018      OFF        OFF        0           11             11                 Michigan
                                                 51                             14.52
Monday      4/16/2018      OFF        OFF        0                               7.26    Michigan (unplanned)
Tuesday     4/17/2018   5:00am     3:30pm       10.5                            79.84
Wednesday   4/18/2018   5:00am     4:30pm        11
Thursday    4/19/2018   5:30am     8:00pm       14.5                                    volunteer dinner from RF
Friday      4/20/2018   3:30am     4:30pm        13                                       Chamber Breakfast
Saturday    4/21/2018   8:00am     2:00pm        6
Sunday      4/22/2018      OFF        OFF        0           15             15

                                                 55                             13.46

Monday      4/23/2018   S:30am     3:30pm        10                              6.73
Tuesday     4/24/2018   5:30am     S:30pm       10.5                        100.96      Hr Break for Wife's DR Af
Wednesday   4/2S/2018   5:00am     3:30pm       10.5
Thursday    4/26/2018   6:00am     3:30pm       9.5
Friday      4/27/2018   5:00am    10:00pm        17                                           First Friday
Saturday    4/28/2018      OFF        OFF        0
                                                                                                                                           Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 24 of 37 PageID #:49




Sunday      4/29/2018      OFF        OFF        0           17.5          17.5




                                                                      Page 11
                                    Information per Ben                                 Information per Ben D|
                                                                        RRM Hours
                                                                        over 40 and
Day          Date       Time In   Time Out   Total Hours   Overtime     calculation        Ben Comments               RRM Comments   Notes
                                                57.5                            12.88
Monday      4/30/2018   6;00am     4:30pm       10.5                             6.44
Tuesday      5/1/2018   5:30am     3:30pm        10                         112.67
Wednesday    5/2/2018   5:30am     3:30pm        10
Thursday     5/3/2018   6:00am     5:00pm        11
Friday       5/4/2018   5:00am     4:00pm        11
Saturday     5/5/2018      OFF        OFF        0
Sunday       5/6/2018      OFF        OFF        0           12.5          12.5

                                                52.5                            14.10

Monday       5/7/2018   5:00am     4:00pm        11                              7.05
Tuesday      5/8/2018   5:00am     4:00pm        11                             88.14
Wednesday    5/9/2018   5:00am     4:00pm        11
Thursday    5/10/2018   5:00am     4:00pm        11
Friday      5/11/2018   5:00am     4:00pm        11
Saturday    5/12/2018      OFF        OFF        0
Sunday      5/13/2018      OFF        OFF        0            15            15

                                                 55                             13.46

Monday      5/14/2018   5:00am     4:00pm        11                              6.73                                                Full salary   this week
Tuesday     5/15/2018   5:00am     4:00pm        11                         100.96                                                   Full salary   this week
Wednesday   5/16/2018   5:00am     4:00pm        11                                                                                  Full salary   this week
Thursday    5/17/2018   3:30am     1:30pm        10                                     Oak Street Health Bfast                      Full salary   this week
Friday      5/18/2018   5:30am     3:30pm        10                                                                                  Full salary   this week
Saturday    5/19/2018     BABY       BABY        0                                      Vacation then PT FMLA                        Full salary   this week
Sunday      5/20/2018                                        13             13          Vacation then PT FMLA                        Full salary   this week
                                                53                              13,97
Monday      5/21/2018                                                            6.98   Vacation then PT FMLA                        Full Salary This week
Tuesday     5/22/2018                                                           90.80   Vacation then PT FMLA                        Full Salary This week
Wednesday   5/23/2018                                                                   Vacation then PT FMLA                        Full Salary This week
Thursday    5/24/2018                                      Subtotal       3,980.14      Vacation then PT FMLA                        Full Salary This week
Friday      5/25/2018                                                                   Vacation then PT FMLA                        Full Salary This week
Saturday    5/26/2018                                                                   Vacation then PT FMLA                        Full Salary This week
Sunday      5/27/2018                                         0             0           Vacation then PT FMLA                        Full Salary This week
                                                                                                                                                               Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 25 of 37 PageID #:50




                                                                                                                  1

                                                                      Page 12
                                    Information per Ben                               Information per Ben D|
                                                                        RRM Hours
                                                                       over 40 and

Day          Date       Time In   Time Out   Total Hours   Overtime     calculation       Ben Comments             RRM Comments   Notes

Monday      5/28/2018                                                                 Vacation then PT FMLA                       Sk Pay 8
Tuesday     5/29/2018                                                                 Vacation then PT FMLA                       Sk Pay 8
Wednesday   5/30/2018                                                                 Vacation then PT FMLA                       Sk Pay 8
Thursday    5/31/2018                                                                 Vacation then PT FMLA                       Sk Pay 8
Friday       6/1/2018                                                                 Vacation then PT FMLA                       Sk Pay 6.5 & 1.5 vac
Saturday     6/2/2018                                                                 Vacation then PT FMLA
Sunday       6/3/2018                                         0             0         Vacation then PT FMLA

                                                                                                               1
Monday       6/4/2018                                                                 Vacation then PT FMLA                       Holiday 8
Tuesday      6/5/2018                                                                  Vacation then PT FMLA                      Float 8

Wednesday    6/6/2018                                                                  Vacation then PT FMLA                      Float 8

Thursday     6/7/2018                                                                  Vacation then PT FMLA                      Vac 8

Friday       6/8/2018                                                                  Vacation then PT FMLA                      Vac 8

Saturday     6/9/2018                                                                  Vacation then PT FMLA
Sunday      6/10/2018                                         0             0          Vacation then PT FMLA


Monday      6/11/2018                                                                  Vacation then PT FMLA                      Full Salary This week
Tuesday     6/12/2018                                                                  Vacation then PT FMLA                      RRM Anniv 8

Wednesday   6/13/2018                                                                  Vacation then PT FMLA                      Full Salary This week
Thursday    6/14/2018                                                                  Vacation then PT FMLA                      Full Salary This week
Friday      6/15/2018                                                                  Vacation then PT FMLA                      Full Salary This week
Saturday    6/16/2018                                                                  Vacation then PT FMLA                      Full Salary This week
Sunday      6/17/2018                                         0             0          Vacation then PT FMLA                      Full Salary This week


Monday      6/18/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Tuesday     6/19/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Wednesday   6/20/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Thursday    6/21/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Friday      6/22/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Saturday    6/23/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Sunday      6/24/2018                                         0              0         Vacation then PT FMLA                      FMLA 1/2 time
                                                                                                               1
                                                                                                                                                          Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 26 of 37 PageID #:51




Monday      6/25/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time
Tuesday     6/26/2018                                                                  Vacation then PT FMLA                      FMLA 1/2 time



                                                                      Page 13
                                    Information per Ben           |                   Information per Ben D|
                                                                        RRM Hours
                                                                        over 40 and
Day          Date       Time In   Time Out   Total Hours   Overtime     calculation      Ben Comments         RRM Comments   Notes
Wednesday   6/27/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Thursday    6/28/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Friday      6/29/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Saturday    6/30/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Sunday       7/1/2018                                         0                 0     Vacation then FT FMLA                  FMLA 1/2 time

Monday       7/2/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Tuesday      7/3/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Wednesday    7/4/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Thursday     7/5/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Friday       7/6/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Saturday     7/7/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Sunday       7/8/2018                                         0             0         Vacation then FT FMLA                  FMLA 1/2 time

Monday       7/9/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Tuesday     7/10/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Wednesday   7/11/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Thursday    7/12/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Friday      7/13/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Saturday    7/14/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Sunday      7/15/2018                                         0             0         Vacation then FT FMLA                  FMLA 1/2 time


Monday      7/16/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Tuesday     7/17/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Wednesday   7/18/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Thursday    7/19/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Friday      7/20/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Saturday    7/21/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Sunday      7/22/2018                                        0              0         Vacation then FT FMLA                  FMLA 1/2 time

Monday      7/23/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Tuesday     7/24/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
                                                                                                                                             Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 27 of 37 PageID #:52




Wednesday   7/25/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time
Thursday    7/26/2018                                                                 Vacation then FT FMLA                  FMLA 1/2 time


                                                                      Page 14
                                    Information per Ben                              Information per Ben D|
                                                                       RRM Hours
                                                                       over 40 and

             Date       Time In   Time Out   Total Hours   Overtime    calculation       Ben Comments             RRM Comments   Notes
Day
Friday      7/27/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Saturday    7/28/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Sunday      7/29/2018                                         0             0        Vacation then PT FMLA                       FMLA 1/2 time


Monday      7/30/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Tuesday     7/31/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Wednesday    8/1/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Thursday     8/2/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Friday       8/3/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Saturday     8/4/2018                                                                Vacation then PT FMLA                       FMLA 1/2 time
Sunday       8/5/2018                                         0             0         Vacation then PT FMLA                      FMLA 1/2 time


Monday       8/6/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Tuesday      8/7/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Wednesday    8/8/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Thursday     8/9/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Friday      8/10/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Saturday    8/11/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Sunday      8/12/2018                                         0             0         Vacation then PT FMLA                      FMLA 1/2 time
                                                                                                              1
Monday      8/13/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Tuesday     8/14/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Wednesday   8/15/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Thursday    8/16/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Friday      8/17/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Saturday    8/18/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Sunday      8/19/2018                                         0             0         Vacation then PT FMLA                      FMLA 1/2 time
                                                                                                              1
Monday      8/20/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Tuesday     8/21/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Wednesday   8/22/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Thursday    8/23/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
                                                                                                                                                 Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 28 of 37 PageID #:53




Friday      8/24/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time
Saturday    8/25/2018                                                                 Vacation then PT FMLA                      FMLA 1/2 time


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                                    Information per Ben                                 Information per Ben D|
                                                                        RRM Hours
                                                                       over 40 and
Day          Date       Time In   Time Out   Total Hours   Overtime     calculation        Ben Comments         RRM Comments   Notes

Sunday      8/26/2018                                         0             0           Vacation then PT FMLA                  FMLA 1/2 time


Monday      8/27/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Tuesday     8/28/2018                                                                   Vacation then RT FMLA                  FMLA 1/2 time
Wednesday   8/29/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Thursday    8/30/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Friday      8/31/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Saturday     9/1/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Sunday       9/2/2018                                         0             0           Vacation then PT FMLA                  FMLA 1/2 time


Monday       9/3/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Tuesday      9/4/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Wednesday    9/5/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Thursday     9/6/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Friday       9/7/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Saturday     9/8/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Sunday       9/9/2018                                         0             0           Vacation then PT FMLA                  FMLA 1/2 time


Monday      9/10/2018                                                                   Vacation then PT FMLA                  FMLA 1/2 time
Tuesday     9/11/2018   5:00am     4:00pm        11                                                                            FMLA 1/2 time
Wednesday   9/12/2018   6:00am     4:30pm       10.5
Thursday    9/13/2018   5:00am     4:30pm       11.5
Friday      9/14/2018   6:00am     5:00pm        11

Saturday    9/15/2018      OFF        OFF        0
                                                                                                     •

Sunday      9/16/2018      OFF        OFF        0            4             4

                                                 44                             16.83

Monday      9/17/2018   5:30am     4:30pm        11                             8.41
Tuesday     9/18/2018   5:30am     4:30pm        11                             33.65
Wednesday   9/19/2018   5:30am     4:30pm        11
Thursday    9/20/2018   5:30am     4:30pm        11
Friday      9/21/2018   5:30am     4:30pm        11
Saturday    9/22/2018      OFF        OFF        0
                                                                                                                                               Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 29 of 37 PageID #:54




Sunday      9/23/2018      OFF        OFF        0            15            15




                                                                      Page 16
                                     Information per Ben                                 Information per Ben D|
                                                                         RRM Hours
                                                                         over 40 and
Day           Date       Time In   Time Out   Total Hours   Overtime     calculation        Ben Comments       RRM Comments   Notes

                                                  55                             13.46

Monday      9/24/2018    5:30am     4:00pm       10.5                             6.73
Tuesday     9/25/2018    5:30am     4:30pm        11                         100.96
Wednesday   9/26/2018    5:30am     4:00pm       10.5
Thursday    9/27/2018    5:30am     4:00pm       10.5
Friday      9/28/2018    5:00am     4:00pm        11

Saturday    9/29/2018       OFF        OFF        0
Sunday      9/30/2018       OFF        OFF        0           13.5          13.5

                                                 53.5                            13.84

Monday       10/1/2018   5:30am     4:00pm       10.5                             6.92
Tuesday      10/2/2018   4:30am     3:00pm       11.5                            93.41
Wednesday    10/3/2018   5:30am     4:30pm        11

Thursday     10/4/2018   5:30am     4:30pm        11

Friday       10/5/2018   5:00am    10:00pm        17
Saturday     10/6/2018      OFF        OFF        0
Sunday       10/7/2018      OFF        OFF        0           21             21

                                                  61                             12.38

Monday       10/8/2018   5:30am     4:30pm        11                              6.19

Tuesday      10/9/2018   5:30am     4:30pm        11                         129.99

Wednesday   10/10/2018   5:30am     4:30pm        11

Thursday    10/11/2018   5:30am     4:30pm        11

Friday      10/12/2018   5:30am     4:30pm        11
Saturday    10/13/2018      OFF        OFF        0
Sunday      10/14/2018      OFF        OFF        0           15             IS

                                                  55                             13.73

Monday      10/15/2018   5:30am     4:00pm       10.5                             6.87
Tuesday     10/16/2018   6:00am     3:30pm       9.5                         102.98
Wednesday   10/17/2018   5:30am     4:30pm        11

Thursday    10/18/2018   5:30am     4:30pm        11
Friday      10/19/2018   5:30am     4:30pm        11

Saturday    10/20/2018      OFF        OFF        0
                                                                                                                                      ■

Sunday      10/21/2018      OFF        OFF        0           13             13
                                                                                                                                          Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 30 of 37 PageID #:55




                                                  53                             14.25
                                                                                                           1


                                                                       Page 17
                                     Information per Ben                                 Information per Ben 0 |
                                                                         RRM Hours

                                                                         over 40 and
Day           Date       Time In   Time Out   Total Hours   Overtime     calculation         Ben Comments     RRM Comments   Notes

Monday      10/22/2018   5:30am     4:00pm       10.5                             7,12
Tuesday     10/23/2018   6:00am     4:30pm       10.5                            92.62
Wednesday   10/24/2018   6:00am     4:00pm        10
Thursday    10/25/2018   5:30am     4:30pm        11

Friday      10/26/2018   5:30am     3:30pm        10
Saturday    10/27/2018      OFF        OFF        0
Sunday      10/28/2018      OFF        OFF        0           12             12

                                                  52

Monday      10/29/2018      5:30       4:00      10.5
Tuesday     10/30/2018      5:30       4:30       11
Wednesday   10/31/2018      5:00       5:00       12
Thursday     11/1/2018      5:30       5:00      11.5
Friday       11/2/2018   5:00am    10:00pm        17

Saturday     11/3/2018      OFF        OFF        0
Sunday       11/4/2018      OFF        OFF        0           22             22

                                                  62                             12.18

Monday       11/5/2018   6:00am     4:30pm       10.5                             6.09
Tuesday      11/6/2018   3:30am     3:30pm        12                         133.99
Wednesday    11/7/2018   5:30am     3:30pm        10
Thursday     11/8/2018   6:00am     4:30pm       10.3

Friday       11/9/2018   5:30am     4:30pm        11

Saturday    11/10/2018   5:30am    10:30pm        5
Sunday      11/11/2018      OFF        OFF        0           18.8          18.8
                                                 58.8                            12.84

Monday      11/12/2018   5:30am     4:30pm        11                              6.42

Tuesday     11/13/2018   5:30am     4:30pm        11                         120.73
Wednesday   11/14/2018   6:00am     4:00pm        10

Thursday    11/15/2018   5:00am     5:00pm        12
Friday      11/16/2018   6:00am     3:30pm       9.5
Saturday    11/17/2018   11:00am    1:00pm        2
Sunday      11/18/2018      OFF        OFF        0           15.5          15.5

                                                 55.5                            13.61
                                                                                                                                     Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 31 of 37 PageID #:56




Monday      11/19/2018   5:00am     5:00pm        12                              6.80
Tuesday     11/20/2018   5:00am     6:00pm        13                         105.45




                                                                       Page 18
                                          Information per Ben                               Information per Ben 0
                                                                            RRM Hours

                                                                            over 40 and
Day           Date        Time In       Time Out   Total Hours   Overtime   calculation          Ben Comments       RRivl Comments
Wednesday   11/21/2018    5:00am         6:00pm        13                                    Thanksgiving Banquet
Thursday    11/22/2018    Holiday        Holiday       8                                       Thanksgiving Ho)     Not hours worked
Friday      11/23/2018       OFF            OFF        0
Saturday    11/24/2018       OFF            OFF        0
Sunday      11/25/2018       OFF            OFF        0
                                                       38

Monday      11/26/2018    5:30am         4:30pm        11
Tuesday     11/27/2018    6:00am         4:30pm       10.5
Wednesday   11/28/2018    6:00am         3:30pm       9.5
Thursday    11/29/2018    5:30am         4:30pm        11
Friday      11/30/2018    S:30am         5:30pm        12
Saturday     12/1/2018       OFF            OFF        0
Sunday       12/2/2018       OFF            OFF        0                        14

                                                       54                        13.99
Monday       12/3/20181   5:30am         4:30pm        11                            6.99
Tuesday      12/4/2018    6:00am         4:00pm,       10                        97.90
Wednesday    12/5/2018    S:30am         4:30pm        11
Thursday     12/6/2018    5:30am         4:30pm        11
Friday       12/7/2018    5:00am        10:00pm        17                                         First Friday
Saturday     12/8/2018       OFF            OFF        0
Sunday       12/9/2018       OFF            OFF        0                        20

                                                      60                         12.59
Monday      12/10/2018    S:30am    i    3:30pm       10                          6.29
Tuesday     12/11/2018    5:00am         2:45pm       9.75                      125.87
Wednesday   12/12/2018    5:00am         2:30pm       9.5
Thursday    12/13/2018    5:30am         4:30pm       11
Friday      12/14/2018    5:30am         4:30pm       11
Saturday    12/15/2018       OFF            OFF        0
Sunday      12/16/2018       OFF            OFF        0                      11.25

                                                     51.25                       14.74
Monday      12/17/2018    5:30am        4:30pm        11                          7.37
Tuesday     12/18/2018    5;30am        4:30pm        11                         82.89
                                                                                                                                       Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 32 of 37 PageID #:57




Wednesday   12/19/2018    5:30am        4:00pm       10.5
Thursday    12/20/2018    6:00am        5:00pm        11
                                             Information per Ben                            Information per Ben D
                                                                              RRM Hours

                                                                              over 40 and

Day               Date         Time In     Time Out                Overtime   calculation

Friday          12/21/2018    5:30am        4:30pm       11

Saturday        12/22/2018         OFF         OFF       0

Sunday          12/23/2018         OFF         OFF       0



Monday          12/24/2018       12pm          2pm
Tuesday         12/25/2018     Holiday      Holiday
Wednesday       12/26/2018     S:30am       4:30pm
Thursday        12/27/2018     5:30am       1:00pm
Friday          12/28/2018     4:00am       4:00pm
Saturday        12/29/2018         OFF         OFF

Sunday          12/30/2018         OFF         OFF



Monday          12/31/2018         OFF         OFF
Tuesday           1/1/2019     Holiday      Holiday
Wednesday   i     1/2/2019
Thursday          1/3/2019     5;30am       4:30pm
Friday            1/4/2019     5;00am       9:00pm
Saturday          1/5/2019         OFF         OFF
Sunday            1/6/2019         OFF         OFF



Monday            1/7/2019     5:30am       2:45pm
Tuesday           1/8/2019     6;00am       5:00pm
Wednesday         1/9/2019     6;00am       4:00pm
Thursday         1/10/2019     6:G0am       4:00pm
Friday           1/11/2019     5:30am       3:30pm
Saturday         1/12/2019         OFF         OFF
Sunday           1/13/2019         OFF         OFF



Monday           1/14/2019     5:30am       4:30pm
Tuesday          1/15/2019     4;30am       4:30pm
Wednesday        1/16/2019     5:30am      10:30pm
Thursday         1/17/2019     5;00am       4:30pm
                                                                                                                    Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 33 of 37 PageID #:58




Friday      ;    1/18/2019    Vacation 1   Vacation
Saturday         1/19/20191        OFF         OFF
Day          Date

Sunday      1/20/2019


Monday      1/21/2019
Tuesday     1/22/2019
Wednesday   1/23/2019
Thursday    1/24/2019
Friday      1/25/2019
Saturday    1/26/2019
Sunday      1/27/2019


Monday      1/28/2019   5:30am    4:30pm
Tuesday     1/29/2019   5:30am    4:30pm
Wednesday   1/30/2019   6:00am    4:30pm
Thursday    1/31/2019   4:30am'   3:30pm
Friday       2/1/2019   5:00am    9:30pm
Saturday     2/2/2019      OFF       OFF

Sunday       2/3/2019      OFF       OFF



Monday       2/4/2019
Tuesday      2/5/2019
Wednesday    2/6/2019
Thursday     2/7/2019
Friday       2/8/2019
Saturday     2/9/2019
Sunday      2/10/2019


Monday      2/11/2019   5:30am    4;30pm
Tuesday     2/12/2019   6:00am    4:00pm
Wednesday   2/13/2019   3:30am    3:30pm
Thursday    2/14/2019   5:30am    4:00pm
Friday      2/15/2019   6:00am    4:00pm
Saturday    2/16/2019   5:00am    11:00am
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Sunday      2/17/2019   5;00am    2:30pm
                                     Information per Ben                                 Information per Ben D |
                                                                         RRM Hours

                                                                         over 40 and
Day          Date       Time In    Time Out   Total Hours   Overtime     calculation         Ben Comments        RRM Comments     Notes
                                                  69                             10.94

Monday      2/18/2019   6;00am      4:30pm       10.5                             5.47
Tuesday     2/19/2019   6;00am      4:00pm        10                         158.70
Wednesday   2/20/2019   5:30am      3:30pm        10
Thursday    2/21/2019   5:30am      3:30pm        10
Friday      2/22/2019   6:00am      4:30pm       10.5
Saturday    2/23/2019       OFF        OFF        0
Sunday      2/24/2019       OFF        OFF        0           11             11

                                                  51                             14.81

Monday      2/25/2019   Birthday   Birthday       8                               7.40         Birthday          Not hrs worked
Tuesday     2/26/2019   5:30am      4:30pm        11                             81.44
Wednesday   2/27/2019   6:00am      4:00pm        10
Thursday    2/28/2019   5:30am      3:30pm        10
Friday       3/1/2019   5:00am      9:30pm       16.5                                         First Friday
Saturday     3/2/2019   10:30am     6:30pm        8
Sunday       3/3/2019       OFF        OFF        0           23.5          15.5

                                                 55.5                            13.61

Monday       3/4/2019   5:00am      3:30pm       10.5                             6.80
Tuesday      3/5/2019   5:00am      4:00pm        11                         105.45
Wednesday    3/6/2019   5:00am      4:00pm        11
Thursday     3/7/2019   5:00am      4;00pm        11

Friday       3/8/2019   5:00am      4:00pm        11
Saturday     3/9/2019   5:00am     11:00am        6
Sunday      3/10/2019   5:00am      3:00pm        10         30.5           30.5

                                                 70.5                            10.71

Monday      3/11/2019   5:00am      3:00pm        10                              5.36
Tuesday     3/12/2019   5:00am      7:45pm      14.75                        163.36
Wednesday   3/13/2019   5:00am      6:30pm       13.5
Thursday    3/14/2019   5:00am     12:00pm        7

Friday      3/15/2019       OFF        OFF        0
Saturday    3/16/2019       OFF        OFF        0
Sunday      3/17/2019       OFF        OFF        0          5.25           5.25
                                                                                                                                          Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 35 of 37 PageID #:60




                                                45.25                            16.69
                                                                                                             1


                                                                       Page 22
                                        Information per Ben                            Information per Ben D
                                                                         RRM Hours

                                                                         over 40 and

Day              Date       Time In   Time Out                Overtime   calculation

Monday      i   3/18/2019   S:00am     3:00pm       10                          8.34

Tuesday     ;   3/19/2019   S:00am     3:00pm       10                        43.81

Wednesday       3/20/2019   SiOOam     3:00pm
Thursday        3/21/2019   5:00am    10:00am

'Friday         3/22/2019      OFF         OFF
 Saturday       3/23/2019   5:15am    10:15am
 Sunday     i   3/24/2019      OFF         OFF


Monday          3/25/2019   5:00am     1:30pm
Tuesday         3/26/2019   5:00am     2:30pm
Wednesday       3/27/2019   5:00am     1:30pm
Thursday        3/28/2019      OFF         OFF
Friday          3/29/2019   5:00am     1:30pm
Saturday    i   3/30/2019   1:30pm     6;30pm
Sunday          3/31/2019      OFF         OFF



Monday           4/1/2019   5:00am     1:30pm
Tuesday          4/2/2019   5:00am     1:30pm
Wednesday        4/3/2019   S:00am       12:00

Thursday         4/4/2019      OFF         OFF|
Friday           4/5/2019   10:00am    6:30pm
Saturday    i    4/6/2019      OFF         OFF
Sunday           4/7/2019   5:00am     2;00pm




                                      Total OT
                               Avg. Weekly OT
                                                                                                               Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 36 of 37 PageID #:61




Monday           4/8/2019   5:00am     3:00pm       10
Tuesday          4/9/2019   5;00am     3;45pm     10.75
                                    information per Ben                               Information per Ben D |
                                                                        RRM Hours
                                                                        over 40 and
Day          Date       Time In   Time Out   Total Hours   Overtime     calculation       Ben Comments     RRM Comments   Notes

Wednesday   4/10/2019   S:00am
                                                                                                                                  Case: 3:19-cv-50142 Document #: 13 Filed: 07/08/19 Page 37 of 37 PageID #:62




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